Case 1:22-cv-01575-SKC Document 26 Filed 08/29/22 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            HONORABLE S. KATO CREWS

Civil Action No. 1:22-cv-01575-SKC

ERIC COOMER, Ph. D.,

        Plaintiff,

v.

PATRICK BYRNE, et al.,

        Defendants.


                                             ORDER


       Before the Court is an Unopposed Motion for Entry of Stipulation and Order (Doc. 23),

which asks the Court to approve the Stipulation Regarding Briefing Schedule and Page Limits

for Defendants’ Anticipated Motions to Dismiss and Plaintiff’s Omnibus Opposition (the

“Stipulation”), filed August 19, 2022 by Defendants Patrick Byrne (“Byrne”), Steven Lucescu

(“Lucescu”), The America Project, Inc. (“TAP”), and Plaintiff Eric Coomer (collectively, “the

parties”) (Doc. 22). The parties advise the Court that Defendants intend to file Rule 12 motions

to dismiss the Complaint, or special motions to dismiss pursuant to Colo. Rev. Stat. § 13-20-

1101 (the Colorado anti-SLAPP law). Accordingly, the parties have met and conferred to

formulate a plan for briefing on Defendants’ anticipated motions to dismiss or special motions to

dismiss, and Plaintiff’s opposition thereto. Under Fed. R. Civ. P. 6(b)(1)(A), the parties ask the

Court to enter an order that extends and reconciles Defendants’ current deadlines to move in

response to the Complaint, so that they fall on the same date. The parties also ask the Court to fix

a schedule and page limits for all attendant briefing.



                                                 1
Case 1:22-cv-01575-SKC Document 26 Filed 08/29/22 USDC Colorado Page 2 of 2




       For good cause shown, the Court GRANTS the Unopposed Motion and approves the

Stipulation.

       Accordingly, it is hereby ORDERED that

       Defendants’ motions to dismiss or special motions to dismiss, pursuant to Rule 12 of the

Federal Rules of Civil Procedure or Colorado’s anti-SLAPP law, Colo. Rev. Stat. § 13-20-1101,

are due September 20, 2022. Each Defendant is permitted to file a motion to dismiss or special

motion to dismiss not to exceed 30 pages.

       Plaintiff’s opposition in response to Defendants’ motions to dismiss or special motions to

dismiss is due October 25, 2022. Plaintiff is permitted to file an omnibus opposition brief in

response to Defendants’ motions to dismiss or special motions to dismiss not to exceed 60 pages.

Plaintiff is also permitted to seek an extension of time if necessary to file his omnibus

opposition, without objection by Defendants.

       Defendants’ reply briefs in support of their respective motions to dismiss or special

motions to dismiss are due 30 days after the filing of Plaintiff’s omnibus opposition. Each

Defendant is permitted to file a reply brief in support of his or its motions to dismiss or special

motion to dismiss not to exceed 20 pages.

       All of the foregoing page limitations are inclusive of all text, except for the face sheet,

table of contents, table of authorities, signature block, certificate of service, and exhibits. To the

extent a party files a motion and a separate brief or memorandum in support, the combined

length of both documents shall not exceed the page limitations stated above.

       It is SO ORDERED.

August 29, 2022
                                               S. KATO CREWS
                                               United States Magistrate Judge



                                                   2
